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UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


JEREMY ROBISON, individually and on
                              §
behalf of his son, R.R., a minor, et al.,
                              §
                              §
         Plaintiffs,          §
                              §
versus                        §                            CIVIL ACTION NO. 1:17-CV-508
                              §
CONTINENTAL CASUALTY COMPANY, §
                              §
         Defendant.           §

                                             ORDER

       Defendant Continental Casualty Company’s Unopposed Motion for Leave to Supplement

its First Amended Motion to Exclude Expert Testimony of Dr. Lindell K. Weaver (#191) and

Plaintiffs’ Unopposed Motion for Leave to File Plaintiffs’ Supplement to Plaintiffs’ Response to

Defendant’s Motion to Exclude Expert Testimony of Dr. Lindell K. Weaver (#200) are

GRANTED.

       SIGNED at Beaumont, Texas, this 23rd day of November, 2021.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
